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     Elaine L. Chao, Pete Buttigieg, et al.



                                  NOTICE OF WITHDRAWAL


David Ratner and Shelley Molineaux hereby withdraw as attorneys for Plaintiff. The Notice of Appearance was filed
prematurely. Plaintiff has not agreed to retain the attorneys. Please withdraw for party:




                                                                        /s/ David   S. Ratner /s/ Shelley A. Molineaux
  January 28, 2022
                                                                              David S. Ratner SBN 316267




                                                                             david@ratnermolineaux.com



                                                                                        925-239-0899


                                                                                        925-478-5969
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 1
                                           PROOF OF SERVICE
 2
            I, Halsey Volker, declare:
 3
            At the time of service I was over 18 years of age, and not a party to this action. My business
 4
     mailing address is 1990 N. California Blvd, Suite 20, Walnut Creek, CA 94596.
 5
            On January 28, 2022, I served the following document(s) on the parties in the within action:
 6

 7                                       NOTICE OF WITHDRAWAL

 8            BY ELECTRONIC SERVICE: Based on the court’s Local Rules ordering mandatory
              e-filing of all documents for this type of case, and California Rules of Court, Rule
 9
              2.251(c)(3), and Emergency Rule 12, I transmitted the document(s) directly to the
        X
10            following person(s) listed below. I did not receive within a reasonable time after the
              transmission any electronic message or other indication that the transmission was
11            unsuccessful.
12    Stephanie Hinds                                          Attorney for Defendant
13    UNITED STATES ATTORNEY                                   Pete Buttigieg
      Sara Winslow
14    CHIEF, CIVIL DIVISION
      Pamela T. Johann
15    ASSISTANT UNITED STATES ATTORNEY
      450 Golden Gate Avenue, Box 36055
16    San Francisco, CA 94102-3495
17    Phone: (415) 436-7025
      Fax: (415) 436-6748
18    pamela.johann@usdoj.gov

19

20

21          I declare under penalty of perjury under the laws of the State of California the foregoing is a
22   true and correct statement, and this certificate was executed on January 28, 2022.
23
                                                  By
24                                                     Halsey Volker

25

26

27

28

                                                       1                        Case No. 3:19-cv-01411-JCS
                                           NOTICE OF WITHDRAWAL
